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10991279 Dex One           Attn: Bankruptcy Department          PO Box 3900          Peoria IL 61612
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10991299 United Recovery Systems            5800 North Course Drive           Houston TX 77072
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